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 5
 6
 7
                                       UNITED STATES DISTRICT COURT
 8
                                            DISTRICT OF NEVADA
 9
10   LISA BONTA                                            Case No. 3:18-CV-00012-RCJ-WGC
11
                         Plaintiff,                        OPPOSITION TO DEFENDANTS
12                                                         MOTION TO DISMISS PLAINTIFF’S
                   vs.                                     FIRST AMENDED COMPLAINT1
13
     WASHOE COUNTY and CITY OF RENO,
14
                         Defendants.
15
     ____________________________________/
16
17   I.        PRELIMINARY STATEMENT
18
               The question in this case is whether a disabled witness held pursuant to a law enforcement
19
     investigation is entitled to the protections of the Americans With Disabilities Act (“ADA”) of a
20
     “reasonable accommodation” during a law enforcement investigation. Plaintiff, a disabled woman,
21
22   currently in Hospice Care,2 was held by Defendants pursuant to an investigation into the shooting

23   death of her husband by police officers. Plaintiff, and others on her behalf, communicated 15 times

24   to Defendants, that Plaintiff had an urgent need for her oxygen and medications which were locked
25   inside her apartment. Even though the shooting had occurred outside Plaintiff’s apartment, the
26
               1
27           Since Defendants motions raise identical arguments, in the interested in judicial efficiency
     and convenience to the Court, Plaintiff opposes both motions in a single opposition.
28
               2
                   Since the filing of the FAC, Plaintiff has been put on Hospice Care as her cancer has
     spread.
                                                                                                       1
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 1   apartment was a crime scene and Plaintiff was denied entry into her apartment to retrieve her
 2   necessary oxygen and medications.
 3
            There is no dispute that Plaintiff was not a criminal suspect—she was a victim and a
 4
     witness. Plaintiff wanted to cooperate and assist law enforcement, as would any good citizen, but
 5
     she also needed her oxygen and medications. Her health and life depended on 24 hour access to her
 6
 7   medications and oxygen. Defendants listened to Plaintiff and others as they made clear Plaintiff

 8   urgently required her medications and oxygen. Defendants told Plaintiff and others, more than 10

 9   times, that Plaintiff’s items would be momentarily supplied. Defendants said they were “working
10   on it” and “someone would be retrieving the items.” These false statements misled Plaintiff into
11
     believing her life sustaining medications and oxygen would be momentarily supplied. Plaintiff
12
     did not suspend her questioning because she believed, reasonably, her items would be promptly
13
     supplied and she was not free to leave. Plaintiff had no reason to disbelieve Defendants.
14
15          In general, most people believe law enforcement officers are good people intent on being

16   helpful. However, Defendants had no intent to supply Plaintiff with her oxygen and medications

17   and were deliberately indifferent to her needs. Defendants blew Plaintiff off. Defendants ignored
18   Plaintiff. Defendants disregarded Plaintiff in the manner that disabled people have been
19
     disregarded, trivialized, and minimized in society for years. It is precisely for that reason that the
20
     ADA was created.
21
            Congress enacted the ADA after finding that “individuals with disabilities
22
            continually encounter various forms of discrimination, including outright exclusion,
23          the discriminatory effects of architectural, transportation, and communication
            barriers, overprotective rules and policies, and failure to make modifications to
24          existing facilities and practices…” 42 U.S. C. Section 12101(a)(5). The ADA was
            “to provide a clear and comprehensive national mandate for the elimination of
25          discrimination against individuals with disabilities.” 42 U.S.C. Section 12101(b)(1).
            The Act responds to what Congress described as a “compelling need” for a “clear
26
            and comprehensive national mandate” to eliminate discrimination against disabled
27          individuals. Fortyune v. American Multi-Cinema, Inc., 364 F.3d 1075, 1080 (2004).

28

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 1          The recent case of Updike v. Multnomah County, 870 F3d 939, 951 (9 Cir. 2017) made
                                                                                       th




 2   clear: “A public entity may not disregard the plight and distress of a disabled person.” What could
 3
     reasonably be more distressing to a disabled person than the inability to have access to his or her
 4
     medication and oxygen. What plight could be greater to a disabled person than to be repeatedly told
 5
     by law enforcement their medications and oxygen would be supplied only to find there is no intent
 6
 7   to do so.

 8          Plaintiff understood her duty as a good citizen to work with law enforcement in their

 9   investigation. But by the same token, Plaintiff did not want to be without her necessary oxygen and
10   medications. Once law enforcement locked Plaintiff in an ambulance, Plaintiff did not feel free to
11
     leave—Plaintiff instead kept asking for her medications and oxygen and kept being told the
12
     necessary items would be momentarily forthcoming.3 Plaintiff believed Defendants in their
13
     numerous representations. Plaintiff reasonably believed Defendants would supply her with her
14
15   medications and oxygen. Yet, Defendants, with callous disregard for Plaintiff’s health and safety,

16   ignored her and the others who spoke on her behalf. In so doing, Defendants caused Plaintiff

17   enormous physical pain and distress.
18
     II.    FACTUAL BACKGROUND
19
            The following facts are taken from Plaintiff’s First Amended Complaint (“FAC”). Plaintiff
20
     Lisa Bonta is a disabled woman, terminally ill with stage four end stage metastatic breast cancer and
21
22   a variety of other illnesses. (FAC ¶¶6-7). Plaintiff requires multiple daily medications and oxygen

23   which must be provided 24 hours a day through a nasal cannula. (Id. ¶6.) On the evening of

24   October 21, 2017, Plaintiff was home in bed, on oxygen, at her apartment in Sparks recovering from
25
26          3
               Defendants disingenuously assert throughout their Motions that Plaintiff was free to leave
27   and could have gone to get her own medications and oxygen or gone to an emergency room.
     Plaintiff was locked in the ambulance and pleaded to be allowed to use the bathroom. Her request
28   was denied and she was told a bathroom would be available at the Sparks Police Department where
     she would be taken. (FAC, ECF 25, ¶23). If Plaintiff believed she was “free to leave” she would
     have immediately taken herself to the nearest restroom.
                                                                                                        3
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 1   a surgery involving the insertion into her abdominal area of a pain pump to provide morphine as a

 2   pain killer. (Id. ¶7.) In the early morning hours of October 22, 2017, Plaintiff’s estranged husband,
 3
     Johnny was shot dead after a night of drinking in and around Plaintiff’s apartment and a resulting
 4
     confrontation with the police. (Id. ¶¶ 8-9.)
 5
               Immediately prior to the shooting, Johnny had threatened Plaintiff with a gun. Plaintiff,
 6
 7   frightened, told her 16-year-old daughter Marissa to call 911. (Id. ¶ 9). Plaintiff, wearing only

 8   shorts and a thin sleep shirt, got out of bed, disconnected herself from her bedroom oxygen tank,
 9   and went to get Johnny a glass of water to “calm him down.” (Id.). Within five minutes the Sparks
10
     police officers arrived and quickly removed both Plaintiff and her daughter from the apartment.
11
     Plaintiff was now outside, disconnected from her oxygen and away from her medications. (Id.)
12
     Plaintiff heard shots and understood Johnny had been shot outside her apartment. The shooting
13
14   itself is not the basis of the lawsuit, but rather Plaintiff’s treatment by Defendants at the scene and

15   immediately thereafter at the Sparks Police Department (“SPD”). (Id. n.2).

16             At or about 4:00 a.m., after the shooting, Plaintiff, her service dog, and Marissa were
17
     quickly hurried by officers into a nearby ambulance. (Id. ¶11.) The ambulance was empty, no
18
     medical personnel remained inside. Plaintiff, her service dog, and Marissa were the sole ambulance
19
     occupants. (Id.). Plaintiff was cold, frightened, in shock—most importantly she was now without
20
21   her oxygen and medications. Plaintiff did not see any oxygen in the ambulance or any nasal

22   cannulas. (Id. ¶12). Plaintiff would happily have used oxygen available in the ambulance if she had

23   seen it, known where it was, was able to connect to it, or if medical personnel had assisted her. (Id.
24
     & n.3).
25
               Marissa called her 33-year-old sister Jill to inform her of the situation, and when Jill arrived,
26
     at or about 4:00 a.m., a Reno Police Department (“RPD”) officer told Jill Plaintiff and Marissa were
27
28

                                                                                                              4
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 1   in the ambulance. (Id. ¶13). Jill explained that Plaintiff was terminally ill with stage four breast
 2   cancer and needed her medications and oxygen. Jill explained she was Plaintiff’s caregiver and that
 3
     Plaintiff had recent surgery and had been bedridden for the past week. (Id.). The officer told Jill
 4
     there was oxygen in the ambulance. (Id.). Another RPD officer told Jill she had to leave the area, so
 5
     she did. (Id.). Also, at or about 4:00 a.m., Plaintiff called her 31-year-old son Bryce to inform him
 6
 7   of the situation, and when he arrived at about 4:50 a.m., he told an RPD officer he was there to

 8   check on his mother. (Id. ¶¶ 19-20). Bryce explained to the RPD officer he was there to “pick up

 9   his mother” and to make sure she was “okay” as she had cancer and needed her oxygen and
10
     medications. (Id. ¶20). The officer told Bryce it was an “active crime scene” and he had to leave.
11
     Bryce left, as instructed by the officer, and called Jill to discuss the situation. (Id.).
12
             At or about 5:00 a.m., the ambulance door opened. Plaintiff told the RPD officer opening the
13
14   door she was in “urgent” need of her medications and oxygen, explaining she was terminally ill

15   with stage four breast cancer and on oxygen 24/7. (Id. ¶21). The officer said another officer would

16   come speak to her. (Id.). At about 6:00 a.m., the ambulance door was opened again by an RPD
17
     officer. Plaintiff again requested an urgent need for her oxygen and medication. (Id. ¶23). The
18
     officer said, “We will get someone.” (Id.). By this time, Plaintiff was in acute physical distress. Her
19
     morphine pain pump was in the house, she was cold, barefoot and without a coat. Plaintiff’s
20
21   muscles were cramping, which happens when Plaintiff does not have sufficient oxygen. (Id.).

22           At about 6:45 a.m., the ambulance door opened again, RPD Detective McQuattie asked for

23   Plaintiff’s and Marissa’s names and social security numbers and explained they would be taken to
24
     SPD (“Sparks Police Department”) where everything they need would be provided. (Id. ¶ 24). At
25
     approximately 7:00 a.m., McQuattie again opened the door, Plaintiff explained to McQuattie that
26
     she was a stage four breast cancer patient, terminally ill, and required her medications and oxygen.
27
28

                                                                                                          5
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 1   (Id. ¶ 25). McQuattie again repeated everything would be provided at SPD. (Id.).
 2          At approximately 7:15 a.m., Plaintiff, Marissa and the service dog arrived at SPD and
 3
     waited together for about 30-45 minutes. (Id. ¶ 26). Plaintiff asked McQuattie where her
 4
     medications were, McQuattie told Plaintiff “Nothing can be removed from the apartment for up to
 5
     24 hours. I’ll see what I can do.” (Id.). McQuattie, like the other RPD officers, took no steps to
 6
 7   ascertain the seriousness of Plaintiff’s health crisis or to provide oxygen or medication. (Id.).

 8          At about 8:00 a.m., Washoe County Sheriff’s Office (“WCSO”) Detective McVickers

 9   introduced himself to Plaintiff and took Plaintiff away for questioning. (Id. ¶ 27). Plaintiff asked
10
     McVickers about her medications and oxygen, and explained her urgent need. McVickers replied
11
     that nothing could be removed from the apartment for up to 24 hours but he would see what he
12
     could do. (Id.). McVickers and McQuattie then interviewed Plaintiff for 2-3 hours. Plaintiff had
13
14   great difficulty with the interview which lasted more than two hours, because she was in pain, cold,

15   and discomfort. (Id.). In response to Plaintiff’s entreaties, during the interview, McVickers said he

16   would, “Make some calls to people at the crime scene and see what we can do.” (Id.).
17
            During the interim, at or about 8:15 a.m., Jill and Bryce were at Plaintiff’s apartment
18
     pleading for officers to allow them to retrieve their mother’s oxygen and medication. Jill explained:
19
     “My mom is terminally ill and needs her medications and oxygen, can you please get it for her?”
20
21   (Id. ¶¶ 31-32). Jill told the officers where the medication and oxygen were located. (Id.). The RPD

22   officer said the crime scene could not be disturbed. (Id.). He said he made a call to Jack Buell of the

23   WCSO. “He is going to be expecting you, go to SPD and ask for Jack Buell. (Id. ¶ 33). “You can
24
     go to SPD, when we get this wrapped up we’ll send someone over with the items.” (Id. ¶ 33).
25
            When Jill and Bryce arrived at SPD, they contacted WCSO Officer Buell. Buell told them
26
     Plaintiff was being interviewed and they were working on getting someone to bring the medications
27
28

                                                                                                          6
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 1   and oxygen. (Id. ¶ 34). Buell said he would ask Plaintiff what she needed when she was finished
 2   with her questioning. (Id.). Nothing was done by the time Plaintiff finished her interview at 10:30 or
 3
     11:00 a.m. (Id. ¶ 36). At that time, Plaintiff told Buell exactly which items were needed and where
 4
     they were in the apartment. Buell said he would make some calls once Marissa’s questioning was
 5
     done. (Id.). Plaintiff was in desperate need: she was shaking, disoriented, and short of breath.
 6
 7   Plaintiff’s hands were twisted and cramped from lack of oxygen. Plaintiff told Buell, “I want to end

 8   the interview with Marissa. I need to have my medications and oxygen.” (Id.).

 9          At about 11:30 a.m., McVickers took Plaintiff upstairs where she ended the interview with
10
     Marissa. (Id. ¶ 37). Buell made a list of what was needed and Plaintiff explained where the
11
     medications and oxygen were located. (Id.). She explained she had a portable oxygen canister by
12
     the door. (Id.). She asked for some clothes and shoes. Buell said he would make a call and see what
13
14   he could do about having the items delivered to SPD. (Id. ¶ 37).

15          Plaintiff went to Bryce’s house to rest while Jill stayed at SPD waiting for the items. (Id. ¶
16   38). At approximately 12:45 p.m., Jill received a paper bag containing dirty clothes, Bonta’s purse,
17
     but not her medications or oxygen. The RPD officer said: “This is all you’ll get.” (Id.). He added,
18
     “You’ll get the rest of the stuff when you get the keys to the apartment.” (Id.). At about 5:00 p.m.,
19
     Jill received a call from SPD informing her she could retrieve the keys. (Id. ¶ 39). Jill and her
20
21   mother arrived at the apartment at about 6 p.m. (Id.). Plaintiff had gone without her medications for

22   approximately 14 hours. (Id.). Plaintiff remained in bed for a week, recovering. (Id.).
23          Plaintiff has sued Washoe County and the City of Reno for failure to accommodate under
24
     the Americans with Disabilities Act (“ADA”), 42 U.S.C. Section 12132, and the Rehabilitation Act
25
     (“RA”), 29 U.S.C. Section 794.
26
     II.    STANDARD OF LAW
27
28

                                                                                                         7
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 1          On a motion to dismiss, the factual allegations of the complaint must be accepted as true.
 2   Cruz v. Beto, 405 U.S. 319, 322 (1972). A court is bound to give plaintiff the benefit of every
 3   reasonable inference to be drawn from the “well-pleaded” allegations of the complaint. Retail
 4   Clerks Int’l Ass’n v. Schermerhorn, 373 U.S. 746, 753 N. 6 (1963). A plaintiff need not allege
 5   specific facts beyond those necessary to state his claim and the grounds showing entitlement to
 6   relief.” Bell Atl. v. Twombly, 550 U.S. 544, 570 (2007). A court may not dismiss a complaint in
 7   which the plaintiff has alleged “enough facts to state a claim to relief that is plausible on its face.”
 8   Ashcroft v. Iqbal, 556 U.S. 662, 697 (2009). A district court must accept as true all well-pled factual
 9   allegations in the complaint; however, legal conclusions are not entitled to the assumption of truth.
10   Id. at 678-79. A claim is facially plausible when the plaintiff’s complaint alleges facts that allow a
11   court to draw a reasonable inference the defendant is liable for the alleged misconduct. Id. at 678.

12   III.   ANALYSIS

13          A. The Statutory Text of the ADA
14
            The ADA applies broadly to police “services, programs, or activities.” 42 U.S.C. § 12132.
15
     The Ninth Circuit has interpreted these terms to encompass “anything a public entity does.”
16
     Sheehan v. City & Cty. of San Francisco, 743 F.3d 1211, 1232 (9 Cir. 2014), rev’d in part on
                                                                             th


17
18   unrelated grounds, 135 S. Ct. 1765 (2015) (quoting Barden v. City of Sacramento, 292 F.3d 1073,

19   1076 (9th Cir. 2002). Accordingly, the ADA encompasses arrests, interviews, and investigations.

20   The interaction between Plaintiff and Defendants was an interview and an investigation.
21          The ADA is similar in substance to the R.A., and “cases interpreting either are applicable
22
     and interchangeable.” Allison v. Department of Corrections, 94 F.3d 494, 497 (8 Cir. 1996). To
                                                                                           th



23
     successfully state a claim under Title II of the ADA, a person “must demonstrate: (1) he is a
24
     qualified individual; (2) with a disability; (3) [who] was excluded from participation in or denied
25
26   the benefits of the services, programs, or activities of a public entity, or was subjected to

27   discrimination by any such entity; (4) by reason of his disability.” Bowers v. Nat’l Collegiate
28

                                                                                                            8
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 1   Athletic Ass’n, 475 F.3d 524, 553 n.32 (3 Cir. 2007).
                                               rd




 2                  1. Plaintiff Is A Qualified Individual
 3
            The first question is whether persons subject to arrests, custodial detentions can be   4



 4
     “qualified individuals” under the ADA, and they can, for there is nothing to categorically exclude
 5
     them from the statute’s broad coverage. Gorman v. Bartch, 152 F.3d 907, 912-13 (8 Cir. 1998)
                                                                                               th


 6
 7   (concluding that an arrestee could be a qualified individual under the ADA despite not having

 8   “volunteered” to be arrested”); Pa. Dep’t of Corr. v. Yeskey, 524 U.S. 206, 210-11 (1998) (noting

 9   that a state prisoner could be a “qualified individual” under the ADA even when participation in a
10   service, program, or activity of the State is not voluntary). In applying Title II of the ADA to state
11
     prisons and prison services, Justice Scalia emphasized the broad language used by Congress and its
12
     choice not to include exceptions: State prisons “fall squarely within the statutory definition of
13
     ‘public entity’ since § 12131(1)B) defines public entity as ‘any department, agency, special purpose
14
15   district, or other instrumentality of a State or States or local government.” Id. Accordingly, because

16   of the broad nature of the ADA, Plaintiff is a qualified individual under the ADA.

17                  2. Plaintiff, In Custodial Detention, Has A Disability Covered By The ADA
18
            The second question is whether those held in custodial interrogations, as witnesses, and
19
     reasonably believing they are not free to leave, may have disabilities covered by the ADA, and the
20
     answer to that is clearly “yes.” See 42 U.S.C. §12102(1). Like the overall population, the subset of
21
22   people who are held in custodial interrogations, like those who are arrested, or are suspected of

23   violating the law, will naturally include those with recognized disabilities. Plaintiff is disabled as

24
25
26
            4
27             Plaintiff was held by Defendants in a custodial detention for the purpose of an interview
     relating to the shooting death of her estranged husband. Plaintiff was held in the midst of the
28   investigation. Plaintiff at no time felt she was free to leave. Plaintiff had urgent need of a restroom
     and could not leave to utilize a restroom. Plainly, if Plaintiff was prohibited from using a restroom,
     she was not free to leave. (FAC, ECF 25, ¶23).
                                                                                                          9
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 1   she has a terminal disease which interferes with several life activities such as working, driving,

 2   walking, and being able to take care of herself.
 3
                      3. Plaintiff Was Subjected To Discrimination And Is Not Required to Prove
 4                       Custodial Detentions are Services, Programs, Or Activities

 5          The most difficult question pertinent to whether the ADA applies to custodial detentions or
 6   arrests is whether arrests made by officers are “services, programs, or activities of a public entity,”
 7
     or alternatively, whether officers may be liable under the ADA for “subjecting a qualified
 8
     individual to discrimination” while effectuating an interrogation or arrest. 42 U.S.C. § 12132. This
 9
     text contains the disjunctive clause “or be subjected to discrimination by any such entity.” Several
10
11   circuit courts have determined that this clause is “meant to be a ‘catch-all phrase” that prohibits all

12   discrimination by a public entity, regardless of the context. Hamilton ex rel. J.H. v. City of Fort

13   Wayne (N.D. Indiana, 2017) (quoting Seremeth v. Bd. Of Cty. Comm’rs Frederick Cty., 673 F.3d
14
     333, 338 (4 Cir. 2012); Barden v. City of Sacramento, 292 F.3d 1073, 1076 (9 Cir. 2002); Reg’l
                 th                                                                     th




15
     Econ. Cmty Action Program v. City of Middletown, 294 F.3d 35, 45 (2d Cir. 2002).
16
            The text of the ADA is deliberately broad and police departments “fall ‘squarely within the
17
     statutory definition of a “public entity.’” Gorman, 152 F.3d at 912 (quoting Yeskey, 524 U.S. at
18
19   210); see 42 U.S.C. § 12131(1)(A)-(B) defining “public entity to include, among other things, “any

20   State or local government” and “any department, agency, special purpose district, or other
21   instrumentality of a State or States or local government”). Furthermore, persuasive precedent
22
     indicates that the ADA’s reference to “the services, programs, and activities of a public entity”
23
     should likewise be interpreted broadly “to encompass virtually everything that a public entity does.”
24
     Babcock v. Michigan, 812 F.3d 531, 540 (6 Cir. 2016).
                                                 th

25
26          Because Section 12132 is framed in the alternative, Plaintiff is not required to prove whether

27   Defendants conduct is a service, program, or activity. All that is necessary is to look to whether she

28

                                                                                                         10
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 1   was “subjected to discrimination.” Bircoll v. Miami-Dade Cty., 480 F.3d 1072, 1084 (11 Cir. 2007)th




 2   (concluding that the court did not need to decide “whether police conduct during an arrest is a
 3
     program, service, or activity covered by the ADA” because a plaintiff “could still attempt to show
 4
     an ADA claim under the final clause in the Title II state”). The “subjected to discrimination” phrase
 5
     in Title II is “a catch-all phrase that prohibits all discrimination by a public entity, regardless of the
 6
 7   context.” Bircoll, 480 F.3d at 1085) (quoting Bledsoe v. Palm Beach Cty, Soil and Water

 8   Conservation Dist., 133 F.3d 816, 821-22 (11 Cir. 1998)).
                                                     th




 9          The Bircoll court held:
10          We need not enter the circuits’ debate about whether police conduct during an arrest
11          is a program, service, or activity covered by the ADA. This is because Bircoll, in any
            event, could still attempt to show an ADA claim under the final clause in the Title II
12          statute: that he was ‘subjected to discrimination’ by a public entity, the police, by
            reason of his disability. See 42 U.S.C. Section 12132. Indeed, this Court already has
13          explained that the final clause of Section 12132 ‘protects qualified individuals with a
            disability from being subjected to discrimination by any such entity,’ and is not tied
14
            directly to the services, programs, or activities, of the public entity. Bledsoe v. Palm
15          Beach County Soil & Water Conservation Dist., 133 F.3d 816, 821-22 (11 Cir.          th



            1998). We said in Bledsoe that this final clause in Title II is a catch-all phrase that
16          prohibits all discrimination by a public entity, regardless of the context. Id. at 822.

17   480 F.3d at 1084-85.
18
                    4. Defendants Arguments Regarding Whether Defendants Offered
19                     Plaintiff A Service, Program, Or Activity Are Irrelevant

20          Defendants’ concerns with whether in interrogating Plaintiff they were offering Plaintiff a
21   service, program, or activity is irrelevant. Plaintiff is not required to prove a service, program, or
22
     activity. Plaintiff has merely to prove that she was discriminated against by Defendants. For
23
     purposes of whether Defendants were required to accommodate Plaintiff under the ADA, Plaintiff
24
     need only establish Defendants failed to accommodate her disability. "When the plaintiff has alerted
25
26   the public entity to his need for accommodation (or where the need for accommodation is obvious,

27   or required by statute or regulation), the public entity is on notice that an accommodation is

28

                                                                                                            11
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 1   required, and the plaintiff has satisfied the first element of the deliberate indifference test." Id. The

 2   Court may ignore all arguments regarding services, programs, or activities.
 3
            B. Defendants Discriminated Against               Plaintiff   By    Failing    To    Reasonably
 4             Accommodate Her Disability

 5          “Discrimination includes a failure to reasonably accommodate a person’s disability.”
 6   Sheehan 743 F.3d at 1211 (9 Cir. 2014). Sheehan recognized two types of Title II claims stemming
                                   th




 7
     from arrests: (1) wrongful arrest, where police wrongly arrest someone with a disability because
 8
     they misperceive the effects of that disability as criminal activity; and (2) reasonable
 9
     accommodation, where, although police properly investigate and arrest a person with a disability for
10
11   a crime unrelated to that disability, they fail to reasonably accommodate the person’s disability in

12   the course of investigation or arrest, causing the person to suffer greater injury or indignity in that

13   process than other arrestees. Sheehan, 743 F.3d at 1232.
14
            Plaintiff asserts the second type of Title II claim: That Defendants failed to reasonably
15
     accommodate her disability while investigated her husband’s death. Plaintiff asserts Defendants
16
     denied her access to her medications and oxygen, denied her access to emergency medical care,
17
18   and/or failed to provide her with her oxygen and medications for 14 hours. Plaintiff asserts

19   reasonable accommodations could easily have been provided to safeguard her health and safety.

20   “Discrimination under the ADA encompasses not only adverse actions motivated by prejudice and
21   fear of disabilities, but also failing to make reasonable accommodations for a plaintiff’s
22
     disabilities.” Taylor v. Phoenixville Sch. Dist., 184 F.3d 296, 306 (3 Cir. 1999).
                                                                           rd



23
            This conclusion, which is suggested by the wide scope of the ADA’s text, has support in in
24
     the Ninth Circuit and many circuits. See, Sheehan, 743 F.3d at 1217 (“Title II of the ADA applies to
25
26   arrests.”); Roberts v. City of Omaha, 723 F.3d 966, 973 (8 Cir. 2013) (“The ADA applies to law
                                                                    th




27   enforcement officers taking disabled suspects into custody.”); Gorman, 152 F.3d at 912-13 (“The

28

                                                                                                           12
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 1   ADA applies to persons transported to the police station. The Eighth Circuit decided that “the

 2   benefit’ Gorman sought … was to be handled and transported in a safe and appropriate manner
 3
     consistent with his disability). No court has held that the ADA does not apply to such situations.
 4
              C. Plaintiff’s Disability Was The Cause of Her Harm
 5
              If Plaintiff had not been disabled, she would not have experienced harm. Plaintiff identifies
 6
     two separate points at which she contends Defendants subjected her to discrimination by reason of
 7
     her disability: First, the custodial detention inside the ambulance without her medications and
 8
     oxygen. Second, the custodial detention at the SPD without her medications and oxygen. Plaintiff
 9
     was placed into police custody immediately after the shooting of Johnny Bonta. While not accused
10
     of a crime, Plaintiff was not free to leave and not free to re-enter her apartment to gather her
11
     medications and oxygen. Applying the law of the Ninth Circuit, Plaintiff was entitled to have an
                               5


12
     accommodation for her disability during this involuntary hold by law enforcement. The ADA
13
     mandates that public entities “shall make reasonable modifications in policies, practices, or
14
     procedures when the modifications are necessary to avoid discrimination on the basis of disability.
15
     28 C.F.R. § 35.130(b)(7). The ADA imposes upon public entities an affirmative obligation to
16
     make reasonable accommodations for disabled individuals to avoid discrimination on the basis of
17
     disability. Bennett-Nelson v. Louisiana Board of Regents, 431 F.3D 448, 454-55 (5 Cir. 2005). “[A]
                                                                                           th


18
     public entity is on notice that an individual needs an accommodation when it knows that an
19
     individual requires one, either because the need is obvious or because the individual requests an
20
     accommodation.” Robertson v. Las Animas County Sheriff’s Dep’t, 500 F.3d 1185 1196 (10 Cir.        th


21
     2007).
22
              D. Reasonable Alternatives Were Available To Accommodate Plaintiff’s Disability
23
24
25
26            Defendants expend considerable energy asserting Plaintiff was not detained, in custody, or
              5


27   subject to seizure. Such arguments miss the point. Plaintiff asserts only an ADA and R.A. violation,
     not a Fourth Amendment violation. It is of no meaningful significance whether she was in a
28   custodial detention, subject to a seizure, or arrested. Plaintiff did not feel free to leave and remained
     subject to Defendant’s show of authority and physical control.
                                                                                                             13
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 1          Plaintiff contends reasonable accommodations would have allowed her to be interviewed

 2   without pain and suffering at no cost or inconvenience to Defendants or the investigation in
 3
     progress.
 4
            (1) Defendants could have requested the REMSA officers already at the scene
 5              attending to the fatally shot Mr. Bonta to examine Plaintiff and make
                recommendations for her comfort, health and safety;
 6
 7          (2) Defendants could have requested REMSA officers working on Mr. Bonta to
                make oxygen in the ambulance, if it existed, immediately available to Plaintiff. If
 8              oxygen was available, REMSA personnel could have hooked Plaintiff to the
                oxygen. If there was no oxygen available, ambulance personnel could have called
 9              for additional personnel to bring oxygen to the scene;
10          (3) If the REMSA officers could not stop their work on Mr. Bonta and other
11              REMSA officers were unavailable, Defendants could have taken Plaintiff to an
                emergency medical facility. Johnny Bonta was dead, Plaintiff was not a suspect.
12              There was time for Defendants to transport Plaintiff to an emergency room prior
                to providing her statement;
13
            (4) If Defendants did not wish to take Plaintiff to an emergency room, her adult
14
                children were available and could have taken Plaintiff to an emergency room;
15
            (5) If Defendants did not wish to take Plaintiff to an emergency room, or would not
16              permit Plaintiff’s adult children to take Plaintiff to an emergency room, an
                additional ambulance could have been called to take Plaintiff;
17
            (6) Defendants could have delayed Plaintiff’s police interview until she had her
18
                medications and oxygen. It was not necessary for the officers to interview
19              Plaintiff immediately. Plaintiff was a victim/witness. Plaintiff not accused of a
                crime. There was no pressing need for Plaintiff’s immediate interview. The
20              situation was stable. Plaintiff’s husband was dead. SPD officers had killed him.
                There were no other bad actors at the scene. The crime scene evidence was under
21              police control and adequate numbers of officers were present. No exigent
22              circumstances existed that necessitated the immediate need for Plaintiff’s
                interview—no evidence would be lost or destroyed—and no split-second
23              decisions were necessary. There was time and opportunity to accommodate
                Plaintiff by delaying her interview until after she sought and received medical
24              care and was medically stable.
25          Plaintiff contends she was entitled to these reasonable accommodations. Plaintiff maintains
26
     Defendants failed to make these reasonable modifications to their procedures to ensure her health
27
28

                                                                                                      14
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 1   and safety thereby subjecting her to discrimination in violation of the ADA. Plaintiff contends

 2   Defendants were focused only upon their needs and their desire to complete their investigation.
 3
     Plaintiff contends Defendants could not be bothered with her, or her disability, or her need for
 4
     reasonable accommodation to avoid her serious risk of harm.
 5
     IV.     OPPOSITION TO CITY OF RENO’S MOTION TO DISMISS
 6
 7          A. Plaintiff Has Established Deliberate Indifference To Her ADA Rights

 8           City of Reno (“City”) argues in its Motion to Dismiss, ECF No. 29, Plaintiff cannot

 9   establish discriminatory intent. City is wrong. City officers knew of Plaintiff’s urgent need for
10   medications and oxygen, knew Plaintiff was terminally ill with metastatic breast cancer, and knew
11
     she required medications and oxygen. City officers acted with deliberate indifference to Plaintiff’s
12
     obvious risk of harm. Any person (including police officers) told of another’s widespread metastatic
13
     cancer and terminal illness knows that medications and oxygen are necessary because it is obvious.
14
15   Any person told of such conditions would understand the need for medications and oxygen is

16   crucial, pressing, and imperative. Everyone knows, because it is common knowledge, that stage

17   four metastatic cancer is a killer. Everyone knows the medical needs of a terminally ill person are
18
     not to be ignored.
19
             “To show intentional discrimination, this circuit requires that the plaintiff show that a
20
     defendant acted with ‘deliberate indifference,’ which requires ‘both knowledge that a harm to a
21
     federally protected right is substantially likely, and a failure to act upon that …likelihood.” Updike
22
23   v. Multnomah County, 870 F.3d at 950-51. "When the plaintiff has alerted the public entity to his

24   need for accommodation (or where the need for accommodation is obvious, or required by statute or
25   regulation), the public entity is on notice that an accommodation is required, and the plaintiff has
26
     satisfied the first element of the deliberate indifference test." Id.
27
28

                                                                                                        15
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 1          To meet the second prong, the entity's failure to act "must be a result of conduct that is more

 2   than negligent, and involves an element of deliberateness." Id. In this matter, Plaintiff alerted
 3
     Defendants multiple times of her need for her medication and oxygen. Defendants, ignored,
 4
     disregarded, and     trivialized her concerns—treating Plaintiff as garbage. Defendants, whose
 5
     absolute duty is to protect and serve, had nothing but contempt for Plaintiff’s serious risk of harm,
 6
 7   as if her health and safety was of no concern.

 8          Defendants did to Plaintiff what historically has been done to all disabled people—they

 9   ignored her. The totality of the circumstances establishes Defendants acted with deliberate
10   indifference—they knew of a risk of harm to Plaintiff because it was obvious and intentionally
11
     disregarded that risk—they were only concerned with their own investigation, their own business,
12
     and their own activities. Plaintiff’s concerns were inconsequential, a minor, petty, trifling,
13
     negligible irritant Defendants felt free to ignore. Defendants failed to conduct a fact specific inquiry
14
15   into Plaintiff’s risk of harm because Defendants were deliberately indifferent to Plaintiff’s risk of

16   harm. It was of no consequence to them.

17         B. Defendants Failed To Make A Fact Specific Inquiry To Consider Plaintiff’s Needs
18          Defendants were required to make a fact specific inquiry into whether Plaintiff required an
19
     accommodation. “It is well-settled that Title II and Section 504 create a duty to gather sufficient
20
     information from the disabled individual and qualified experts as needed to determine what
21
     accommodations are necessary. Thus, a public entity ‘must consider the particular individual’s
22
23   need’ when conducting its investigation into what accommodations are reasonable.” Updike v.

24   Multnomah County, 870 F3d at 951. (Emp. Added). When an entity is on notice of the need for
25   accommodation, it ‘is required to undertake a fact-specific investigation to determine what
26
     constitutes a reasonable accommodation.” Id. “A public entity may not disregard the plight and
27
28

                                                                                                          16
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 1   distress of a disabled person.” Id.

 2
            Defendants, in complete disregard for Plaintiff’s disability, failed to conduct an investigation
 3
 4   into what accommodation Plaintiff required—fact specific or otherwise. Defendants knew Plaintiff

 5   required her medication and oxygen, knew Plaintiff was terminally ill, and knew the nature of

 6   Plaintiff’s disability. Defendants should have asked Plaintiff: “What will happen if your oxygen and
 7   medications are delayed?” “Will you get sick if you are temporarily without your medications and
 8
     oxygen?” “Do you have an alternative source of medications and oxygen?” “Do you need to go to
 9
     an emergency room?” “What can we do to ensure your health is not at risk during our questioning?”
10
     Defendants should have told Plaintiff that she needed to provide a statement and to answer
11

12   questions but she did not have to do it immediately.

13
            Defendants knew from repeated entreaties that Plaintiff was in urgent need of her
14
     medications and oxygen. There was nothing to prevent Defendants from making an inquiry into
15
16   Plaintiff’s need for these items. There was no current emergency and no exigent circumstances to

17   prevent an inquiry into how Plaintiff would suffer from a temporary cutoff of her medications and

18   oxygen: 1) The sole bad actor, Johnny Bonta, was dead; 2) There were no other suspects or victims;
19
     3) The crime scene was contained; 4) There were no split second decisions to be made; 5) The
20
     action was over; 6) All that remained was to take interviews and write reports. This is not to say that
21
     taking interviews and writing reports is not important, it is. However, there was time and
22
23   opportunity to make a reasonable inquiry of Plaintiff’s risk of harm in going without her medication

24   and oxygen. There was time and opportunity to suspend her interview until she obtained her

25   medication and oxygen and was stabilized. There was time and opportunity to consider Plaintiff’s
26   risk of harm.
27
28

                                                                                                         17
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 1         C. Plaintiff Asserted Her Need For Oxygen And Medications 15 Times

 2          City argues deliberate indifference does not occur “where a duty to act may simply have
 3
     been overlooked.” (City’s Br. ECF 29, 4:15-17). This is far from the case. Plaintiff and others on
 4
     Plaintiff’s behalf asserted Plaintiff’s need for oxygen and medications 15 times. Plaintiff and others
 5
     described the Plaintiff’s needs as urgent:
 6
 7               • First, Plaintiff’s adult daughter Jill Gonzalez explained an RPD officer on the scene
                   while Plaintiff was confined inside the ambulance that “her mother was terminally
 8                 ill with stage 4 metastatic breast cancer and had urgent need for her medications and
                   oxygen (FAC, ECF 25, ¶ 14);
 9
                 • Second, Plaintiff’s adult daughter Bryce Mower told an RPD officer Plaintiff was
10
                   sick, had cancer, and needed her oxygen and medications (FAC, ECF 25, ¶ 19);
11
                 • Third, at 5:00 a.m., Plaintiff asked the officer for her medications and oxygen.
12                 Plaintiff explained her illness and the nature of her illness that she is terminally ill
                   with stage 4 breast cancer and on oxygen 24/7 and in urgent need of her oxygen and
13                 medications (FAC, ECF 25, ¶ 20);
14
                 • Fourth, at 6:00 a.m. Plaintiff again asked for her medications and oxygen (FAC, ECF
15                 25, ¶ 22);

16               • Fifth, at about 7:00 a.m., Plaintiff again explained to RPD officer McQuattie that she
                   is a stage 4 breast cancer patient, terminally ill, and required her medications and
17
                   oxygen (FAC, ECF 25, ¶ 24);
18
                 • Sixth, at about 7:15 a.m., Plaintiff again explained to McQuattie where her
19                 medications were (FAC, ECF 25, ¶ 25);
20               • Seventh, at about 8:00 a.m., Plaintiff asked WCSO Detective McVickers, about her
21                 medications and her need for them (FAC, ECF 25, ¶ 26);

22               • Eighth, at about 8:15 a.m., Gonzalez and Mower asked RPD officers if they could
                   retrieve Plaintiff’s medications and oxygen because she needed them (FAC, ECF
23                 25, ¶ 30);
24
                 • Ninth, at about 8:15 a.m., Mower spoke with another RPD officer, saying “My mom
25                 is terminally ill and needs her medications and oxygen, can you please get it for her.
                   My mom did nothing wrong, she needs her oxygen and medication (FAC, ECF 25, ¶
26                 31);
27               • Tenth, Gonzalez pleaded with an RPD officer to bring her mother’s tote with her
28                 medications, her purse and her oxygen (FAC, ECF 25, ¶ 32);


                                                                                                        18
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 1
                 • Eleventh, between 8:30 a.m. and 9:00 a.m., Gonzalez told Officer Buell Plaintiff has
 2                 cancer and needs her medications and oxygen (FAC, ECF 25, ¶ 33);
 3
                 • Twelfth, at about 10:15 a.m., Mower told Buell he thought someone would be
 4                 bringing Plaintiff’s medications and oxygen (FAC, ECF 25, ¶ 34);

 5               • Thirteenth, about 10:30 or 11:00 a.m., Gonzalez asked Buell again for Plaintiff’s
                   medications and oxygen, explaining the items were urgently needed (FAC, ECF 25,
 6
                   ¶ 35);
 7
                 • Fourteenth, about 10:30 or 11:00 a.m., Plaintiff asked “How long before I can get my
 8                 medications and oxygen?” (FAC, ECF 25, ¶ 35);
 9               • Fifteenth, about 11:30 a.m., Plaintiff told Buell exactly where the oxygen and
10                 medications were located in her apartment (FAC, ECF 25, ¶ 36).

11          Because Plaintiff asserted her need for her medications and oxygen 15 times, it is

12   unreasonable for City to claim it merely “overlooked” her need for accommodation. (City’s Br.,
13   ECF 29, 4:15-16). City’s claims that it “missed” Plaintiff’s pleading and entries is without merit.
14
           D. Plaintiff Was Led To Believe Her Medications And Oxygen Would Be Momentarily
15            Supplied And She Would Be Accommodated – Plaintiff Continued To Cooperate
              Because of Defendants’ False Assurances
16
            City claims it did not deny Plaintiff a reasonable accommodation because she was focused
17
18   on obtaining her oxygen and accommodation from her property and “did not ask to go to a

19   hospital.” (City’s Br. ECF 29, 5:15-26 and 6:1-16). This argument fails because Defendants insisted

20   and assured Plaintiff that any moment her medications and oxygen would be provided from her
21   property. Plaintiff had no reason to go to a hospital because Defendants pledged, promised and
22
     agreed to provide her oxygen and medications. Plaintiff had no reason run urgently to a hospital
23
     because Plaintiff trusted Defendants to do what they assured her would be done. Plaintiff trusted
24
     Defendants. Plaintiff believed Defendants were there to serve and protect. Plaintiff was entirely
25
26   reasonable in relying on Defendants. Good citizens rely on law enforcement. Good citizens trust

27   law enforcement officers. Responsible citizens depend on the honesty and integrity of law
28

                                                                                                           19
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 1   enforcement and society encourages them to do so. Accordingly, Plaintiff did not ask to suspend

 2   the questioning to go to a hospital because she relied on and believed the numerous officer
 3
     statements that her request for medication and oxygen would be soon accommodated.
 4
 5         E. Defendants Deceived Plaintiff Into Believing Her Oxygen And Medications Would
              Be Momentarily Supplied
 6
            If Defendants had honestly stated: “Your medications and oxygen are contained inside your
 7
 8   apartment and your apartment is now a crime scene. We will not be able to allow you in. We will

 9   not be able to extract those items for you,” Plaintiff would have immediately requested to go to an

10   emergency room. Plaintiff, like all citizens, relied on the honesty and professionalism of law
11   enforcement. Plaintiff was not required to say: “I don’t believe you. I don’t think you will provide
12
     me with the items I require, take me to a hospital or let me leave now to seek medical care.”
13
     Plaintiff was reasonable in relying on Defendants repeated assertions that her medications and
14
     oxygen would be supplied and, on their way, momentarily. The following examples outline the
15
16   assurances provided to Plaintiff:

17
                •   First, at about 5:00 a.m., when Plaintiff explained her need for medications and
18                  oxygen, an officer told her, “An officer will come and speak to her.” This reasonably
                    led her to believe her concerns would be addressed—there was no need to ask to go
19
                    to a hospital (FAC, ECF 25, ¶ 20);
20
                •   Second, at about 6:00 a.m., the ambulance door was again opened by an RPD officer.
21                  Plaintiff explained her need for her medications and oxygen and was told by the
                    officer, “We will get someone.” Plaintiff was reasonable in believing her concerns
22                  would be addressed and there was no need to ask to go to a hospital (FAC, ECF 25, ¶
                    22);
23
24              •   Third, at about 6:45 am., RPD detective McQuattie opened the ambulance door.
                    After hearing Plaintiff’s request for oxygen and medications, McQuattie assured
25                  Plaintiff that “everything needed” would be provided at SPD (FAC, ECF 25, ¶ 23);

26              •   Fourth, at about 7:00 a.m., McQuattie opened the ambulance door again. After
                    hearing again, the urgency of Plaintiff’s need for medications and oxygen said,
27                  “Everything will be provided at SPD.” This naturally led Plaintiff to believe her
28                  needs would be provided and there was no reason to ask to go to a hospital (FAC,


                                                                                                      20
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 1                  ECF 25, ¶ 24);
 2              •   Fifth, at about 7:15 a.m., McQuattie after listening again to Plaintiff’s needs said:
                    “I’ll see what I can do.” This led Plaintiff to believe her medications and oxygen
 3
                    would be provided (FAC, ECF 25, ¶ 25);
 4
                •   Sixth, at about 8:00 and continuing for the duration of Plaintiff’s interview with RPD
 5                  officer McQuattie and WCSO McVickers, Plaintiff continued to ask for her
                    medications and oxygen. McVickers said, “I’ll see what I can do. I’ll make some
 6                  calls to people at the crime scene and we’ll see what we can do.” (FAC, ECF 25, ¶
                    26);
 7
 8              •   Seventh, at about 8:30 to 9:00, Gonzalez and Mower begged Buell for Plaintiff’s
                    oxygen and medications. Buell replied: “We’re working on it. We’re going to get
 9                  someone to bring her stuff.” This reasonably led both Gonzalez and Mower to
                    believe Plaintiff’s oxygen and medications would be provided at any minute (FAC,
10                  ECF 25, ¶ 33;
11              •   Eighth, at about 10:15 a.m., Buell instructed Gonzalez and Mower that: “We’re
12                  working on it.” The statement “we’re working on it” was meant to convey the
                    medications and oxygen would be promptly provided and Plaintiff and her children
13                  were entitled to rely on it and not ask to be transported to the hospital (FAC, ECF 25,
                    ¶ 34);
14
                •   Ninth, at about 10:30 or 11:00 a.m., Plaintiff was finished with her interview and
15                  again pleaded for her oxygen and medication. Buell said, again, he would “work on
                    it.” Buell said he would “make some calls as soon as Marissa’s interview was
16
                    finished. Since Plaintiff had no idea how long Marissa’s interview would last,
17                  Plaintiff requested the interview be ended immediately (FAC, ECF 25, ¶ 35).
                    Plaintiff was reasonable to believe that the items would be provided to her
18                  immediately after Marissa’s interview concluded.
19              •   Tenth, at about 11:30, Plaintiff ended Marissa’s interview. Buell asked Plaintiff for
                    exactly what she needed and made a list. Plaintiff told Buell where her oxygen was
20
                    and where her medications were located and Buell wrote it down. Buell said he
21                  would make a call and see what he could do to have the items delivered to SPD
                    (FAC, ECF 25, ¶ 36). Plaintiff was reasonable in thinking that the items would be
22                  momentarily provided. Plaintiff believed at any moment her oxygen and medications
                    would be provided. (FAC, ECF 25, ¶ 36).
23
           F. Plaintiff Did Not Feel She Was Free To Leave And Obtain Medical Care
24
25          City argues it had no duty to accommodate Plaintiff because she was never in custody and

26   never detained. (Def. Br. ECF 29, 4:24-26). City claims if Sheehan applies, it applies only to

27   arrestees and Plaintiff was never arrested, detained, or in custody therefore Reno officers were not
28

                                                                                                        21
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 1   required to provide ADA protections. Whether Plaintiff was seized, detained, or in a custodial

 2   detention is a question of fact—what remains without dispute is Plaintiff felt she was not free to
 3
     leave. If she felt free to leave she would have left, gone to an emergency room, or to her doctor, and
 4
     obtained some type of temporary oxygen and medications while awaiting permission to reenter her
 5
     apartment.
 6
 7           “Our cases make it clear that a seizure does not occur simply because a police officer

 8   approaches an individual and asks a few questions. So long as a reasonable person would feel free

 9   ‘to disregard the police and go on about his business, the encounter is consensual.’” Florida v.
10   Bostick, 501 U.S. 429, 434 (1991). “A police officer may make a seizure by a show of authority and
11
     without the use of physical force, but there is no seizure without actual submission.” Brendin v.
12
     California, 551 U.S. 249, 254 (2007). “When the actions of the police do not show an unambiguous
13
     intent to restrain or when an individual’s submission to a show of governmental authority takes the
14
15   form of passive acquiescence, there needs to be some test for telling when a seizure occurs in

16   response to authority, and when it does not.” Id. The test was devised by Justice Stewart in United

17   States v. Mendenhall, 446 U.S. 544, (1980) who wrote that a seizure occurs if “in view of all of the
18
     circumstances surrounding the incident, a reasonable person would have believed that he was not
19
     free to leave.” Id.
20
             The factual question presented is whether Plaintiff reasonably felt she was not free to
21
22   leave—whether Plaintiff felt police officers were exercising control to the point that she was not

23   free to assert her desire to go to a hospital or to her doctor’s office while prohibited from entering

24   her apartment to obtain her medications and oxygen. It is reasonable for persons present at the scene
25   of a crime, or a shooting investigation, to believe their freedom to move around may be constrained.
26
     A death is a serious event. Defendants were not discussing ice cream cones or missing keys from a
27
28

                                                                                                        22
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 1   jacket pocket. Due to the gravity of the event, Plaintiff was all the more reasonable in feeling she

 2   was not free to leave. In Maryland v. Wilson, 519 U.S. 408 (1997) and other related opinions, the
 3
     United States Supreme Court has held it is permissible during a lawful traffic stop for an officer to
 4
     order a passenger out of the car as a precautionary measure, without reasonable suspicion that the
 5
     passenger poses a safety risk. “In fashioning this rule, we invoked our earlier statement that “[t]he
 6
 7   risk of harm to both the police and the occupants is minimized if the officers routinely exercise

 8   unquestioned command of the situation.” Brendin v. California, 551 U.S. 249 at 258. “What we

 9   have said probably reflects a societal expectation of ‘unquestioned police command’ at odds with
10   any notion that a passenger would feel free to leave, or to terminate the personal encounter any
11
     other way, without advance permission. “Id. Plaintiff was not a passenger, but she was a witness of
12
     a shooting death. Reasonable people in such circumstances would believe they would not be free to
13
     leave until given express permission.
14
15         G. Proof That Plaintiff Did Not Feel She Was Free To Leave Is Demonstrated In The
              Denial of Her Urgent Request to Use The Bathroom
16
            Plaintiff’s husband had just been shot. Police were swarming Plaintiff’s apartment and the
17
     grounds outside the apartment. Plaintiff was in shock. The police were exhibiting absolute control
18
19   of the scene. In the midst of this circumstance, Plaintiff responsibly and immediately followed

20   police commands to enter an empty ambulance and await further instruction. No reasonable person

21   under the circumstances in Plaintiff’s position would have done otherwise. As a good citizen,
22
     Plaintiff wanted to be cooperative. Plaintiff remained in the ambulance, with the door closed, with
23
     her daughter and service dog until approximately 5:00 a.m. when the ambulance door was opened,
24
     and she asked for her medications and oxygen. (ECF No. 25, ¶ 20.) Plaintiff was told an officer
25
26   would come and speak to her. (Id.) Plaintiff did not feel she was free to question the officer or to

27   assert her desire to leave the scene and to walk away but she did make clear she required her

28

                                                                                                       23
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 1   medications and oxygen. Plaintiff remained in the ambulance another hour, until approximately

 2   6:00 a.m. when the ambulance door opened again and Plaintiff again requested her medications and
 3
     oxygen. (Id. ¶ 22). Plaintiff remained in the ambulance another 45 minutes, until approximately
 4
     6:45 a.m. when the ambulance door was again opened, this time by RPD Detective McQuattie who
 5
     asked for Plaintiff’s name and social security number. Plaintiff, anxious, upset, in pain, was also in
 6
 7   urgent need of a bathroom. (Id. ¶ 23). ) McQuattie explained to Plaintiff that she and her daughter

 8   would be taken to SPD where “everything they needed would be provided.” (Id. ¶ 23.) Obviously,
 9   if Plaintiff felt she was free to leave, she would have immediately taken herself to the nearest
10
     bathroom. No one with urgent need of a bathroom would reasonably choose to remain closeted in a
11
     closed ambulance. If Plaintiff felt free to leave the ambulance, she would have left to find her own
12
     bathroom.
13
14
     V.      OPPOSITION TO WASHOE COUNTY’S MOTION TO DISMISS
15
             A.      Washoe County Makes The Identical Arguments Made By City of Reno
16
             Washoe County (“County”) makes the identical arguments made by City. County states:
17
     “Since Washoe County did not arrest her, Bonta was free to leave.” (Def. Br. ECF 28, 5:19-20).
18
     Plaintiff as argued above was locked in an ambulance, taken to SPD, interviewed extensively by
19
     both City and County officers. Under the show of authority by law enforcement she was entirely
20
     reasonable in believing she was not free to leave. No reasonable person in Plaintiff’s position would
21
     feel free to leave.
22
             County states, Plaintiff made “the decision to stay and to not seek medical treatment.” (Def.
23
     Br. ECF 28, 5:20-22). Plaintiff was rushed into an ambulance and locked inside. Plaintiff had no
24
     idea what to expect. Certainly, she did not expect law enforcement to deny her access to her
25
     medications and oxygen. Any reasonable person seeing their husband fatally shot by officers would
26
     be in shock, even if the death was justifiable. Plaintiff was reasonable in wanting to cooperate with
27
28

                                                                                                        24
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 1   law enforcement and reasonable in following their directives. All citizens have a duty to cooperate

 2   with law enforcement. If Plaintiff had left, she would be subject to possible charges—obstructing

 3   justice for starters.

 4            County’s arguments are disingenuous. For example, County states: “Bonta fails to provide

 5   an explanation for her estranged husband’s behavior.” (Def. Br. ECF 28, ¶ 23-26). It is plainly not

 6   relevant why her estranged husband was waving a gun around and threatening her or her daughter.

 7   Plaintiff has never stated, nor does she know, why her husband elected to behave in such a

 8   threatening manner. Plaintiff is not challenging her husband’s death. Nor is Plaintiff challenging the

 9   Defendants’ right to interview her. However, in conducting the expected interview, Plaintiff

10   reasonably expected Defendants would not subject her to a severe risk of harm.

11            B.     Plaintiff Is Not Bringing A Motion For Injunctive Relief

12            Plaintiff has filed a First Amended Complaint and not a Motion For Injunctive Relief.

13   County expends considerable energy outlining the requirements for a Motion For Injunctive Relief

14   and Plaintiff’s case apropos injunctive (County’s Br., ECF 28, 10:19-26; 11:1-16). Plaintiff

15   respectfully requests County’s misplaced irrelevant argument on a matter not currently before the

16   Court.

17            C.     Hainze v. Richards Has No Application To This Matter

18            Ignoring overwhelming Ninth Circuit precedent and failing to mention the important Ninth
19   Circuit 2017 Title II case of Updike v. Multnomah County, County focuses instead on an 18 year
20   old out of circuit case from Texas, Hainze v. Richards, 207 F.3d 795 (5th Cir. 2000). The Ninth
21   Circuit has made clear in Sheehan v. City & Cty. of San Francisco, that the ADA applies to arrests
22   and “anything a public entity does.” Other circuits and the United States Supreme Court, as cited
23   above, have repeatedly emphasized the broad application of the ADA. See also Babcock v.
24   Michigan, 812 F.3d 531, 540 (6 Cir. 2016).
                                     th




25            The ADA mandates that public entities “shall make reasonable modifications in policies,

26   practices, or procedures when the modifications are necessary to avoid discrimination on the basis

27   of disability. 28 C.F.R. § 35.130(b)(7) (Emp. Added). What this means is if it is possible to avoid

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 1   discrimination on the basis of disability, officers have an affirmative obligation to do so. The ADA

 2   imposes upon public entities an affirmative obligation to make reasonable accommodations for

 3   disabled individuals to avoid discrimination on the basis of disability. This does not mean that

 4   officers must sacrifice their lives in order to avoid discrimination against the disabled.

 5          Hainze concerned a mentally ill individual with a history of depression armed with a knife at
 6   a convenience store. Hainze issued profanities and threatened deputies. As Hainze approached the
 7   officers, with a knife in hand, the deputies twice ordered Hainze to stop but Hainze ignored them.
 8   When Hainze was within four to six feet, a deputy fired two shots. Hainze survived and brought a
 9   civil lawsuit alleging violations of his Fourth and Fourteenth Amendment rights as well as an
10   ADA/Section 504 claim. The court held that the officers did not have to accommodate Hainze’s
11   mental disability during the arrest process. The Hainze decision is correct. The deputies faced a

12   serious officer safety issue. Hainze was a deranged individual menacing them with a deadly
13   weapon. The deputies were correct in protecting themselves. It would have been disastrous for the
14   deputies to consider Hainze’s alleged mental illness and ADA rights while he frightened and
15   threatened them with a knife. The officers, in the midst of a life and death struggle, were not
16   required to sacrifice their lives to protect Hainze’s ADA rights. When the ADA mandates that
17   public entities “shall make reasonable modifications in policies, practices, or procedures when the

18   modifications are necessary to avoid discrimination on the basis of disability, it means precisely

19   that. Modifications and consideration of ADA rights are not necessary when a violent suspect is

20   threatening to kill the arresting officers. Nothing could be more inapposite to the case at bar than the

21   Hainze case.

22   VI.    WHAT DEFENDANTS DO NOT CONTEST
23          Defendants do not contest the following:
24          (1)     That Plaintiff is disabled within the meaning of the ADA;
25          (2)     That Plaintiff is terminally ill with stage 4 metastatic breast cancer and on oxygen 24
26   hours a day;
27          (3)     That Plaintiff notified Defendants of her need for her oxygen and medications;
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 1          (4)     That Plaintiff’s adult children notified Defendants of Plaintiff’s need for her
 2   medication and oxygen;
 3          (5)     That by notifying Defendants of Plaintiff’s need for her medication and oxygen
 4   Plaintiff was asking for a reasonable accommodation;
 5          (6)     That Plaintiff was not accused of a crime or suspected of wrongdoing;
 6          (7)     That there was an urgency to questioning Plaintiff immediately after the shooting
 7   death of Johnny Bonta.
 8          (8)     That Plaintiff was led to believe her oxygen and medications would be furnished by
 9   Defendants momentarily;
10          (9)     That there was a pressing need for Plaintiff’s interview to take place immediately
11   after her husband’s shooting by SPD officers;

12          (10)    That Plaintiff’s interview could have taken place after Plaintiff was stabilized with
13   her oxygen and medications, a day or two later;
14          (11)    That Plaintiff was in excruciating pain during her time in the ambulance, at the
15   police interviews, and for nearly one week thereafter; and,
16          (12)    That Plaintiff’s harm was caused by Defendants’ failure to accommodate her
17   reasonable request for accommodation.
18   VII.   PLAINTIFF WITHDRAWS HER NEGLIGENCE CLAIM
19          Upon reflection, Plaintiff withdraws her negligence claim. Plaintiff contends the conduct
20   alleged was a result of a deliberate intentional act and does not wish to plead in the alternative.
21   VIII. CONCLUSION
22          Defendants motions should be denied because almost all of Defendants’ arguments are
23   rooted in questions of fact. The ADA applies broadly to police “services, programs, or activities.”
24
     42 U.S.C. § 12132. The Ninth Circuit has interpreted these terms to encompass “anything a public
25
     entity does.” Accordingly, the ADA encompasses arrests, interviews, and investigations. It is
26
     beyond dispute that Defendants are public entities. It is beyond dispute that Defendants held
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 1   Plaintiff for extended questioning with notice of her disability and urgent need for medications and

 2   oxygen. It is likewise beyond dispute that Plaintiff made reasonable requests for an accommodation
 3
     to prevent a serious risk of harm and Defendants were deliberately indifferent to her requests.
 4
               For all of these reasons, Plaintiff respectfully requests Defendants’ Motion to Dismiss be
 5
     denied.
 6
 7             DATED: September 5, 2018

 8
                                              By: __/s/__Terri Keyser-Cooper____
 9                                                TERRI KEYSER-COOPER
                                                  Attorney for Plaintiff Lisa Bonta
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 1                                  CERTIFICATE OF SERVICE
 2          I, Terri Keyser-Cooper, declare as follows:
 3
           I am over the age of 18 years and not a party to this action. My business address is 3590
 4   Barrymore Dr., Reno NV 89512

 5          On this date, I served a copy of the following documents on the parties in this action as
     follows:
 6
 7   PLAINTIFF’S OPPOSITION TO DEFENDANTS MOTION TO DISMISS

 8
     []      BY UNITED STATES MAIL. By placing a true copy of the above-referenced document(s)
 9   in the United States Mail in a sealed envelope with postage prepaid to the addressee(s) listed below.
10   []     BY FACSIMILE TRANSMISSION. By transmitting a true copy of the document(s) by
11   facsimile transmission

12   [ ]    BY HAND-DELIVERY. By delivering a true copy enclosed in a sealed envelope to the
     address(es) shown below.
13
     [x ]   BY ELECTRONIC SERVICE. By electronically mailing a true copy of the document(s) to
14   defendants at the following email addresses via the Court’s electronic filing procedure:
15   CHRISTOPHER J. HICKS
     WASHOE COUNTY DISTRICT ATTORNEY
16   Keith Munro
     P.O. Box 11130
17   Reno, NV 89520-0027

18   KARL HALL
     RENO CITY ATTORNEY
19   Mark Hughs
     Mark Dunagan
20   P.O. Box 1900
     Reno, NV 89505
21
            I declare under penalty of perjury that the foregoing is true and correct.
22
23
            DATED: September 5, 2018                      /s/ Terri Keyser-Cooper
24                                                        TERRI KEYSER-COOPER

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